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 4                                 UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                    ***
 7     UNITED STATES OF AMERICA,                                  Case No. 2:13-cr-00232-JAD-VCF
 8                                            Plaintiff,                         ORDER
              v.
 9                                                             (Mot Term Pretrial Supervis – ECF No. 75)
       MICHELLE PAONESSA,
10
                                            Defendant.
11

12           Before the court is Defendant Michelle Paonessa’s Motion to Terminate Direct Pretrial
13    Supervision (ECF No. 75). The motion represents both counsel for the government and Ms.
14    Paonesa’s Pretrial Services supervisor concur that given her consistent history since being placed
15    on supervision, direct Pretrial Services supervision is no longer required.
16           For good cause shown,
17           IT IS ORDERED that Defendant Michelle Paonessa’s Motion to Terminate Direct Pretrial
18    Supervision (ECF No. 75) is GRANTED and active supervision is terminated. Paonessa shall
19    advise Pretrial Services of any changes in residence, employment or contact with law enforcement
20    within 72 hours of the occurrence.
21           DATED this 31st day of October, 2016.
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                                                                PEGGY A. LEEN
24                                                              UNITED STATES MAGISTRATE JUDGE
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